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                                                     October 25, 2024
  Via PACER/ECF

  The Honorable Michael A. Shipp, U.S.D.J.
  The Honorable Rukhsanah L. Singh, U.S.M.J.
  United States District Court for the District of New Jersey
  Clarkson S. Fisher Building & U.S. Courthouse
  402 East State Street
  Trenton, New Jersey 08608

            Re:         In re: Johnson & Johnson Talcum Powder Products Marketing, Sales Practices
                        and Product Liability Litig., Case No. 3:16-md-2738 (MAS)/(RLS)

  Dear Judge Shipp and Judge Singh:

           We represent Beasley Allen and Andy D. Birchfield, Jr., Esq. (together “Beasley Allen”)
  regarding the pending Motion to Remove Beasley Allen (“Motion”) from the Plaintiffs’ Steering
  Committee, see ECF No. 33290, and the pending Motion to Disqualify Beasley Allen from this
  litigation, see ECF No. 28760. We are in receipt of the Stay Order entered by the Hon. Christopher
  Lopez of the United States Bankruptcy Court for the Southern District of Texas, on October 24,
  20025, which stays “the pending motion to disqualify, and to remove from the Executive
  Committee, the Beasley Allen firm from the federal MDL,” until December 2, 2024. See Exh. A
  (TXSB ECF No. 57) at pgs. 4-5. We therefore write to confirm that Beasley Allen need not file its
  opposition to the pending Motion by the previously scheduled deadline today October 25, 2024.
            Thank you for your time and attention to this matter.
                                                                    Respectfully submitted,

                                                                    /s/ Jeffrey M. Pollock

                                                                    JEFFREY M. POLLOCK

  cc: All Counsel (via ECF)
